           Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 1 of 24




                      UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA

     JEFFREY D. HILL,                         )    CIVIL ACTION NO. 4:22-CV-556
                    Plaintiff                 )
                                              )    (BRANN, C.J.)
          v.                                  )
                                              )    (ARBUCKLE, M.J.)
     DOUG MASTRIANO,                          )
                 Defendant                    )
                          REPORT & RECOMMENDATION

I.       INTRODUCTION

         On April 15, 2022, Jeffrey D. Hill (“Plaintiff”) lodged this case alleging that

 Doug Mastriano (“Defendant”) should not be permitted to run for Pennsylvania

 Governor, and should be removed from the May 2022 primary ballot. In his

 pleading, Plaintiff asserts a federal quo warranto claim and a claim for mandamus

 relief. Plaintiff also attempts to challenge Defendant’s nomination petition under

 state law.

         To the extent that the 2011 sanction is still enforceable, I DECLINE to certify

 this action for filing because Plaintiff lacks standing to bring a federal quo warranto

 claim, and because the Court does not have the authority to grant the mandamus

 relief Plaintiff requests.1 In the alternative, it is RECOMMENDED that:


 1
   Plaintiff has been sanctioned by this Court for filing a large volume of meritless
 civil cases. Order, Hill v. Carpenter, No. 4:08-CV-591 (M.D. Pa. Feb 26, 2011),
 ECF No. 18 (requiring that Plaintiff “receive certification from a magistrate judge
 prior to filing a future civil action within the Middle District of Pennsylvania.”).
 However, in 2015, the Third Circuit Court of Appeals questioned the enforceability

                                          Page 1 of 24
          Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 2 of 24




        (1)    Plaintiff’s IFP motion (Doc. 2) be granted and this case be dismissed
               without leave to amend pursuant to 28 U.S.C. 1915(e)(2)(B)(ii) (failure
               to state a claim on which relief may be granted).

        (2)    Proposed Intervenor’s Motion to Intervene (Doc. 6) be DENIED.

        (3)    The Clerk of Court be DIRECTED to close this case.

II.     BACKGROUND & PROCEDURAL HISTORY

        A.     PLAINTIFF’S LITIGATION HISTORY           IN THE     MIDDLE DISTRICT        OF
               PENNSYLVANIA

        It appears that Plaintiff initiated his first civil action in this Court in 1988. All

  cases were filed pro se and Plaintiff sought leave to proceed in forma pauperis. By

  September 1996, Plaintiff had filed approximately 42 separate actions in the Middle

  District of Pennsylvania. See Hill v. Gates, 940 F. Supp. 108, 109 (M.D. Pa. 1996).

  On September 3, 1996, United States District Judge James McClure issued an Order

  directing Plaintiff to show cause as to why sanctions should not be imposed. Id. In

  that Order, the court “indicated that it would consider as an appropriate sanction the

  issuance of an order rendering Hill subject to the same restrictions with respect to

  litigation under § 1915 as are applied for prisoners.” Id. On September 18, 1996,

  Judge McClure imposed a series of restrictions (explained in 51 paragraphs at the



  of that sanction. Mandate of USCA, Hill v. Umpstead, No. 4:15-CV-587 (M.D. Pa.
  Mar. 15, 2016), ECF No. 9-2 (noting that “the District Court’s pre-filing injunction–
  which ‘sanction[ed] Hill by requiring him to receive certification from a magistrate
  judge prior to filing a future civil action within the Middle district of Pennsylvania’
  – fails to comport with our direction that it ‘impose more tailored sanctions against
  him.’”).

                                           Page 2 of 24
        Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 3 of 24




conclusion of his 1996 order) on Plaintiff’s ability to file cases in this district,

including (but not limited to):

      (1)    requiring Plaintiff to pay an initial partial filing fee of $5.00 and to
             deposit $5.00 per month until the full filing fee was paid in each civil
             action filed (failure to pay, and keep making payments would result in
             dismissal), id at 113-114; and

      (2)    barring Plaintiff from bringing any further civil actions if he has “on 3
             or more occasions after the date of [the September 18, 1996 order],
             brought an action or appeal in a court of the United States that was
             dismissed pursuant to this order on the grounds that it is frivolous,
             malicious, or fails to state a claim upon which relief may be granted.”
             Id. at 114.

      In April 2008, Plaintiff ran afoul of the 1996 sanction by filing his third

frivolous lawsuit. On April 4, 2008, Judge McClure issued an order that states as

follows:

      4.     Pursuant to our September 18, 1996 order in M.D. Pa. Civ. No.
             96-1572 and our authority to impose sanctions under Rule 11 of
             the Federal Rules of Civil Procedure, plaintiff’s complaint is
             dismissed based on his filing at least three civil actions in the
             courts of the United States since the date of that order that were
             dismissed as frivolous, malicious, or for failure to state a claim.
             Alternatively, the complaint is dismissed on the merits under 28
             U.S.C. § 1915(e)(2)(B) for failure to state a claim.

      5.     Plaintiff is ordered not to bring any civil action in the Middle
             District of Pennsylvania. We warn plaintiff that a failure to
             comply with this court order may result in contempt proceedings
             being brought against plaintiff.

Hill v. Carpenter, No. 4:08-CV-591, 2008 WL 936927 at *4 (M.D. Pa. Apr. 4, 2008).




                                       Page 3 of 24
       Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 4 of 24




      Plaintiff appealed Judge McClure’s April 2008 Order to the Third Circuit

Court of Appeals. On April 22, 2009, the Third Circuit affirmed Judge McClure’s

dismissal of Plaintiff’s complaint, but vacated the imposition of sanction. Hill v.

Carpenter, 323 F. App’x 167, 168 (3d Cir. 2009). In doing so the Circuit explained:

      The District Court clearly was within its discretion to impose sanctions
      against Hill, as his filings in this case contained wholly inappropriate
      language and showed a complete lack of respect for the Court and the
      judicial process. Moreover, the instant case is but one of many non-
      meritorious actions Hill has filed over the years, and it is not the first
      instance in which Hill has used disrespectful and abusive language.
      Nonetheless, there is no indication that the Court gave Hill adequate
      notice and an opportunity to respond before imposing
      sanctions. See Brow v. Farrelly, 994 F.2d 1027, 1038 (3d Cir.
      1993) (“If the circumstances warrant the imposition of an injunction
      [restricting a litigant's ability to file future law suits], the District Court
      must give notice to the litigant to show cause why the proposed
      injunctive relief should not issue.”); see also In re Oliver, 682 F.2d 443,
      446 (3d Cir. 1982) (“[The litigant] should have been provided with an
      opportunity to oppose the court's order [enjoining him from filing future
      cases] before it was instituted.”) The imposed sanctions, which bar Hill
      from ever bringing another lawsuit in the district, were also overly
      broad. See In re Packer Ave. Assocs., 884 F.2d 745, 748 (3d Cir.
      1989) ( “There simply is no support in the law for permitting an
      injunction prohibiting a litigant from ever filing a document in federal
      court.”); see also Brow, 994 F.2d at 1038 (“[T]he scope of the
      injunctive order must be narrowly tailored to fit the particular
      circumstances of the case before the District Court.”). Thus, we must
      vacate the Court's injunction barring Hill from bringing any future civil
      suit in the Middle District of Pennsylvania.

      In lieu of the vacated injunction, we recommend that the District Court-
      after providing notice and an opportunity to respond-consider adopting
      an order requiring Hill to obtain certification from a United States
      Magistrate Judge before bringing any future action in the Middle
      District of Pennsylvania. Such an approach has been endorsed by
      Courts of Appeals, see, e.g., Baum v. Blue Moon Ventures, LLC, 513


                                          Page 4 of 24
        Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 5 of 24




      F.3d 181, 186–94 (5th Cir. 2008) (upholding an injunction preventing
      an abusive litigant from filing claims in any federal district court,
      bankruptcy court, or agency without court permission); Ortman v.
      Thomas, 99 F.3d 807, 811 (6th Cir. 1996) (“[I]t is permissible to require
      one who has abused the legal process to make a showing that a tendered
      lawsuit is not frivolous or vexatious before permitting it to be
      filed.”); In re Packer Ave. Assoc., 884 F.2d at 748 (requiring a litigant
      to obtain leave of the district court before filing any action relating to a
      particular bankruptcy case); Abdul–Akbar v. Watson, 901 F.2d 329,
      332 (3d Cir. 1990) (“[D]istrict courts in this circuit may issue an
      injunction to require litigants to obtain the approval of the court before
      filing further complaints.”), and it would prevent Hill from pursuing
      frivolous actions without denying him access to the courts.

      In addition, it may be appropriate to impose contempt sanctions against
      Hill for his blatant violation of the order prohibiting him “from filing
      any document which is replete with offensive, derogatory material.”
      Order at 10, Hill v. Gates, 940 F.Supp. 108 (M.D. Pa. 1996). Hill's
      complaint and appellate filings are brimming with vile and outrageous
      remarks that demean the judiciary and warrant a strong rebuke.

Id. at 171-172.

      In December of 2010, Plaintiff’s case was reassigned to United States District

Judge Yvette Kane, following the death of Judge McClure. On January 6, 2011,

Judge Kane issued an order directing Plaintiff to show cause why sanctions (in the

form of requiring Plaintiff to obtain certification from a Magistrate Judge before

filing any new civil case) should not be imposed. Order to Show Cause, Hill v.

Carpenter, No. 4:08-CV-591 (M.D. Pa. Jan. 6, 2011), ECF No. 16. On January 19,

2011, Plaintiff filed a response. Response, Hill v. Carpenter, No. 4:08-CV-591

(M.D. Pa. Jan. 19, 2011), ECF No. 17. On February 16, 2011, Judge Kane issued an

order imposing a sanction that Plaintiff be “required to obtain certification from a


                                        Page 5 of 24
        Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 6 of 24




United States Magistrate Judge prior to filing a future civil action within the Middle

District of Pennsylvania.” Hill v. Carpenter, No. 4:08-CV-591, 2011 WL 676810 at

*2 (M.D. Pa. Feb 16, 2011). In doing so, Judge Kane explained:

       On January 6, 2011, pursuant to the recommendation of the Third
       Circuit, the Court issued an order on Hill to show cause why he should
       not be required to obtain certification from a United States Magistrate
       Judge prior to filing a future civil action within the Middle District of
       Pennsylvania. (Doc. No. 16 at 4–5); see also Abdul–Akbar v.
       Watson, 901 F.2d 329, 332 (3d Cir. 1990) ( [D]istrict courts in this
       circuit may issue an injunction to require litigants to obtain the approval
       of the court before filing further complaints.”). On January 19, 2011,
       Hill filed a twenty-one page document, with exhibits, entitled
       “Response to ‘Judge’ Kane's 1–6–11 Rule to Show Cause.” (Doc. No.
       17). Although this document is docketed as a response, it is wholly
       unresponsive to the Court's January 6, 2011 Order, contains vitriolic
       and unwarranted language, and continues the long pattern of abusive
       posturing by Hill.

       The Court has provided Hill with notice “to show cause why injunctive
       relief should not issue.” Gagliardi v. McWilliams, 834 F.2d 81, 83 (3d
       Cir. 1987). In this notice, the Court informed Hill that he faced potential
       sanctions in the form of having to obtain certification from a magistrate
       judge prior to filing a future civil action within the Middle District of
       Pennsylvania. (Doc. No. 16 at 4–5). Hill has failed to adequately
       respond to this notice. Therefore, pursuant to the recommendation of
       the Third Circuit, the Court will sanction Hill by requiring him to
       receive certification from a magistrate judge prior to filing a future civil
       action within the Middle District of Pennsylvania.

Id. at 1-2.

       Since that sanction was imposed Plaintiff filed several new cases in the Middle

District of Pennsylvania in which he requested leave to proceed in forma pauperis.




                                         Page 6 of 24
        Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 7 of 24




      In one such case, filed on March 24, 2015, Plaintiff alleged, in large part, “a

conspiracy between municipal officials that resulted in his prosecution and

incarceration for 5 ½ years on sundry ‘trumped-up’ criminal charges, all of which

occurred decades ago.” Report & Recommendation, Hill v. Umpstead, No. 4:15-CV-

587 (M.D. Pa. Mar. 27, 2015), ECF No. 3. The complaint also concerned a dispute

between Plaintiff and the “borough officials related to snow removal over the recent

winter months.” Id. On March 27, 2015, United States Magistrate Judge Karoline

Mehalchick issued a report explaining that Plaintiff’s claims related his criminal

convictions (which occurred more than a decade before the complaint was filed)

were barred by the applicable statute of limitations, and Plaintiff’s claims related to

the snow removal were insufficient to support a plausible RICO or civil rights claim.

Id. Judge Mehalchick declined to certify Plaintiff’s complaint for filing because it

was “legally and factually frivolous” and recommended that the complaint be

dismissed pursuant to the February 2011 sanction order. Id. On June 25, 2015,

United States District Judge Matthew W. Brann adopted Judge Mehalchick’s

recommendation and dismissed Plaintiff’s case. Order, Hill v. Umpstead, No. 4:15-

CV-587 (M.D. Pa. June 25, 2015), ECF No. 6. Plaintiff appealed. On February 2,

2016, the Third Circuit Court of Appeals issued an opinion affirming the dismissal

of Plaintiff’s lawsuit because the claims alleged had no merit. However, in doing so,

the Circuit remarked:



                                        Page 7 of 24
        Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 8 of 24




      District Courts in this Circuit may issue an injunction to require litigants
      who have engaged in abusive, groundless, and vexatious litigation to
      obtain approval of the court before filing further complaints. See Chipps
      v. U.S. Dist. Ct. for Middle Dist. of Pa., 882 F.2d 72, 73 (3d Cir. 1989).
      We have recognized, however, that a pre-filing injunction is an extreme
      remedy which must be “narrowly tailored and sparingly used.” Abdul-
      Akbar v. Watson, 901 F.2d 329, 332 (3d Cir. 1990) (quoting In re
      Packer Ave. Assocs., 884 F.2d 745, 747 (3d Cir. 1989)). “Narrowly
      tailored” means fitting the language of the injunction to the particular
      circumstances of the case. Brow v. Farrelly, 994 F.2d 1027, 1038 (3d
      Cir. 1993). Thus, we have approved of an order “directing that the
      litigant not file any section 1983 claims without leave of court and that
      in seeking leave of court, the litigant certify (1) that the claims he
      wishes to present are new claims never before raised and disposed of
      on the merits by any federal courts, (2) that he believes the facts alleged
      in his complaint to be true, and (3) that he knows of no reason to believe
      his claims are foreclosed by controlling law.” Abdul-Akbar, 901 F.2d at
      333. Here, the District Court’s pre-filing injunction – which
      “sanction[ed] Hill by requiring him to receive certification from a
      magistrate judge prior to filing a future civil action within the Middle
      District of Pennsylvania” – fails to comport with our direction that it
      “impose more tailored sanctions against him.” Hill, 323 F. App’x at
      172. Despite this failure, however, the District Court properly
      dismissed Hill’s complaint because, for the reasons provided below, his
      claims lack merit.

Mandate of USCA, Hill v. Umpstead, No. 4:15-CV-587 (M.D. Pa. Mar. 14, 2016),

ECF No. 9-2.

      Recently, Plaintiff filed a case concerning a 2004 tax assessment. Hill v.

Lycoming County Government, No. 4:20-CV-2397 (M.D. Pa.). On December 23,

2020, I issued a Report recommending that Plaintiff’s complaint in that case not be

certified, or in the alternative that it be dismissed pursuant to 28 U.S.C. §

1915(e)(2)(B)(ii). Id. at ECF No. 7. Plaintiff did not file objections to that Report &



                                        Page 8 of 24
        Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 9 of 24




Recommendation, and it was adopted. The case was then referred back to me to

impose a sanction. On March 24, 2021, I issued a Report recommending that

Plaintiff be enjoined from filing any further lawsuits specifically about the 2004

Lycoming County tax assessment without counsel or without paying the full civil

filing fee. Id. at ECF No. 13. It was adopted by the District Court, and upheld on

appeal by the Third Circuit. Id. at ECF Nos. 25, 31-1.

      B.     PLAINTIFF’S ALLEGATIONS IN THIS CASE

      On April 15, 2022, Plaintiff lodged a document titled “Writ Quo Warranto /

Prohibition / Mandamus Error—Disqualification from Ballot & Public Office

(Petition for Disqualification).” (Doc. 1). In this document, Plaintiff alleges:

      Pursuant to Amendment 14, Section 3—Pa Constitution, Pennsylvania
      state senator Doug Mastriano, should be banned from running for
      Pennsylvania governor in 2022 for violating his solemnly-swore oath
      of public office and failing to support the Constitution of the United
      States having engaged in the 1-6-21 insurrection against the same and
      subversive activities leading up to the 1-6-21 political violence at the
      Capitol in Washington, DC incited by President Donald J. Trump that
      injured 140 Capitol police and Metro police and killed 5 police officers.

(Doc. 1, p. 1). Although Plaintiff cites to the Pennsylvania Constitution in the body

of his pleading, he attaches a document titled “judicial notice” in which he asks the

court to take judicial notice of quotes by Sinclair Lewis and Samuel Johnson, and

Section 3 of the Fourteenth Amendment to the United States Constitution.

      In support of his position that Defendant should be disqualified from running

for governor, Plaintiff alleges:


                                        Page 9 of 24
Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 10 of 24




(1)   Pa state senator Doug Mastriano had buses chartered at his
      expense to transport state residents to Washington, DC to attend
      a pro- Trump STOP the STEAL political rally on 1-6-21 after
      Trump Lost the 2020 presidential election in which Trump knew
      from his inner circle that there was no fraud. Many of the state
      residents transported to DC on 1-6-21 by Mastriano were
      indicted for rioting and insurrection and sedition.

(2)   Mastriano and his wife were photographed at the Capitol in DC
      on 1-6-21 as rioters were breaching police barriers at the main
      capitol steps contrary to his denials.

(3)   Mastriano organized an exclusively Republicans, private,
      secretive phone or video conference with Trump in Gettysburg
      after Trump had lost the 2020 election for a STOP the STEAL
      sales seminar centered around Trump’s BIG LIE in November
      2020.

(4)   Mastriano lied about his presence at the 1-6-21 insurrectionist
      riot at the Capitol in DC and that of his wife, a fact ascertained
      by Sedition Hunters and the photo documentation of the
      northeast barrier breach video of the Capitol steps.

(5)   Mastriano was with insurrectionist Rick Saccone when Saccone
      encouraged fellow insurrectionists to storm the Capitol and “run
      out all the evil people” and RINOs that don’t support Trump.

(6)   Mastriano posed for photo with Trump, extremist Samuel Lazur
      who was wounded by the FBI for participating in the 1-6-21
      capitol riot and spraying capitol police with chemical irritants
      and bragging about it.

(7)   He went to the White House to meet with Trump at the Oval
      Office with a Republican legislative delegation to discuss
      overturning the 2020 election after Biden was certified the
      winner.

(8)   He considers far-right extremist groups like the Oath Keeper,
      Proud Boys, and militias as patriots rather than domestic enemies
      of the country and terrorist organizations as well as
      insurrectionists, seditionists, and traitors.

                               Page 10 of 24
       Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 11 of 24




      (9)    He is one of the most zealous promotors of Trump’s BIG LIE
             and the leader of the Trump loyalists in the Trump cult in
             violation of his solemnly-sworn oath of public office, He still
             promotes Trump’s discredited BIG LIE.

      (10) Mastriano is a QAnon conspiracy theorist, something he revealed
           on the Patriot’s Soapbox livestream, and QAnon has been
           deemed a threat to national security as an extremist group
           worshipping Trump and admiring Putin.

      (11) He assisted Trump in the promotion of his Big Lie inciting
           Trump supporters and transporting them to DC on busses he
           chartered for the pre-planned 1-6-21 violent, seditious,
           insurrectionist attacks on the Capitol which was part of a pre-
           meditated, treasonous attempt to subvert the fair election of
           Joseph Biden to the US presidency and peaceful, constitutional,
           transfer of power and install Trump in a 2nd term against the
           wishes of 30+ million voters in violation of the Constitution.

      (12) Mastriano participated in the Trump-Eastman conspiracy to
           nullify the electoral college electors and replace them with
           Trump electors in 7 swing states that included Pennsylvania,
           Michigan, Wisconsin, Arizona, Georgia, Nevada, and New
           Mexico (PA and NM added a caveat to their falsified electoral
           documents).

      (13) Mastriano acted in concert with Trump and his minions in
           furtherance of Trump’s desperate multi-pronged schemes to stay
           in the presidency illegally to avoid potential criminal
           prosecutions and prison and was active in the grooming of
           seditious insurrectionists that violently broke into the Capitol to
           disrupt the electoral college vote counting process.

(Doc. 1, pp. 1-3).

      With this background, I turn to the appropriate legal standard to be applied.




                                      Page 11 of 24
       Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 12 of 24




      C.     MOTION TO INTERVENE (DOC. 6)

      On April 25, 2022, proposed intervenor Calvin Clements (“Proposed

Intervenor”), through his counsel, filed a motion requesting permissive intervention

pursuant to Fed. R. Civ. P. 24(b)(1)(B). (Doc. 6). Along with his Motion, Proposed

Intervenor filed a brief in support (Doc. 6-1), a proposed counterclaim complaint

(Doc. 6-2), and a 395-page U.S. Senate Committee Majority Staff Report (Doc. 6-

3).

      In his proposed counterclaim complaint, Proposed Intervenor alleges that

Defendant attempted to overthrow the United States Government following the 2020

presidential election, and must be disqualified from running for governor under

Section 3 of the Fourteenth Amendment to the United States Constitution. (Doc. 6-

2). In his supporting brief, Proposed Intervenor also suggests that Defendant’s

conduct following the 2020 presidential election disqualifies Defendant under

Pennsylvania law. 25 P.S. § 2936 (providing that “no nomination petition,

nomination paper or nomination certificate shall be permitted to be filed, if the

political party or political body referred to therein shall be composed of a group of

electors whose purposes or aims, or one of whose purposes or aims, is the

establishment, control, conduct seizure or overthrow of the Government of the

Commonwealth of Pennsylvania or the United States of America by use of force,

violence, military measure or threats of one or more of the forgoing.”).



                                      Page 12 of 24
           Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 13 of 24




           In his proposed counterclaim complaint, Proposed Intervenor requests that

   this Court “disqualify Doug Mastriano from his candidacy for Governor of

   Pennsylvania.” (Doc. 6-2, ¶ 37).

           Plaintiff objects to intervention. (Doc. 5). Plaintiff argues that Proposed

   Intervenor should file his own petition, and that permitting intervention would

   violate Plaintiff’s rights. (Doc. 5, pp. 1-2).

III.       LEGAL STANDARD FOR SCREENING COMPLAINTS FILED BY
           LITIGANTS PROCEEDING IN FORMA PAUPERIS, GENERALLY

           This Court has a statutory obligation to conduct a preliminary review of pro

   se complaints brought by litigants given leave to proceed in forma pauperis. See

   Atamian v. Burns, 236 F. App’x 753, 755 (3d Cir. 2007) (“the screening procedures

   set forth in 28 U.S.C. § 1915(e) apply to in forma pauperis complaints filed by

   prisoners and non-prisoners alike.”). Specifically, the Court is obliged to review the

   complaint in accordance with 28 U.S.C. ' 1915(e)(2), which provides, in pertinent

   part:

           (2) Notwithstanding any filing fee, or any portion thereof, that may
           have been paid, the court shall dismiss the case at any time if the court
           determines that –

                 (A) the allegation of poverty is untrue; or

                 (B) the action or appeal--

                     (i) is frivolous or malicious;

                     (ii) fails to state a claim on which relief may be granted; or


                                            Page 13 of 24
        Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 14 of 24




                  (iii) seeks monetary relief against a defendant who is
                       immune from such relief.

       In performing this mandatory screening function, the Court applies the same

standard that is used to evaluate motions to dismiss under Rule 12(b)(6) of the

Federal Rules of Civil Procedure, which provides that a complaint should be

dismissed for “failure to state a claim upon which relief can be granted.” Fed. R.

Civ. P. 12(b)(6). The United States Court of Appeals for the Third Circuit has

observed the evolving standards governing pleading practice in the federal courts,

stating that “pleading standards have seemingly shifted from simple notice pleading

to a more heightened form of pleading, requiring a plaintiff to plead more than the

possibility of relief to survive a motion to dismiss.” Fowler v. UPMC Shadyside,

578 F.3d 203, 209-10 (3d Cir. 2009). “[A] complaint must do more than allege the

plaintiff’s entitlement to relief.” Id. at 211. It also “has to ‘show’ such an entitlement

with its facts.” Id.

       To test the sufficiency of the complaint under Rule 12(b)(6), the court must

conduct the following three-step inquiry:

       First, the court must “tak[e] note of the elements a plaintiff must plead
       to state a claim.” Iqbal, 129 S.Ct. at 1947. Second, the court should
       identify allegations that, “because they are no more than conclusions,
       are not entitled to the assumption of truth.” Id. at 1950. Finally,
       “where there are well-pleaded factual allegations, a court should
       assume their veracity and then determine whether they plausibly give
       rise to an entitlement for relief.” Id.

Santiago v. Warminster Tp., 629 F.3d 121, 130 (3d Cir. 2010).


                                         Page 14 of 24
             Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 15 of 24




            A complaint filed by a pro se litigant is to be liberally construed and

      ‘“however inartfully pleaded, must be held to less stringent standards than formal

      pleadings drafted by lawyers.’” Erickson v. Pardus, 551 U.S. 89, 94 (2007) (quoting

      Estelle v. Gamble, 429 U.S. 97, 106 (1976)). Nevertheless, “pro se litigants still must

      allege sufficient facts in their complaints to support a claim.” Mala v. Crown Bay

      Marina, Inc., 704 F.3d 239, 245 (3d Cir. 2013). Thus, a well-pleaded complaint must

      contain more than mere legal labels and conclusions. Rather, a pro se complaint must

      recite factual allegations that are enough to raise the Plaintiff’s claimed right to relief

      beyond the level of mere speculation, set forth in a “short and plain” statement of a

      cause of action.

IV.         ANALYSIS

            A.     THE COURT SHOULD DECLINE TO CERTIFY PLAINTIFF’S CASE, OR IN THE
                   ALTERNATIVE DISMISS PLAINTIFF’S PLEADING PURSUANT TO 28 U.S.C.
                   § 1915(E)(2)(B)(II)

            Plaintiff’s pleading in this case boils down to a challenge to Defendant’s

      suitability to appear on the ballot for the Pennsylvania gubernatorial primary in May

      2022. Plaintiff alleges that Defendant should be disqualified from holding office

      because he engaged in insurrection or rebellion against the United States, and/or

      gave aid and comfort to the enemies of the United States. In the title of his pleading

      he used the phrases “Writ Quo Warranto” and “Mandamus Error.” I construe

      Plaintiff’s pleading as alleging a federal quo warranto claim, and requesting



                                               Page 15 of 24
        Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 16 of 24




mandamus relief pursuant to 28 U.S.C. § 1361. As explained in detail below,

Plaintiff lacks standing to bring a federal quo warranto claim, and the Court lacks

the authority to grant mandamus relief against a state actor under 28 U.S.C. § 1361.

             1.     Plaintiff’s Federal Quo Warranto Claim Should Be Dismissed

       A federal writ quo warranto may be sought only by the United States, and not

by a private individual, like Plaintiff. As explained in Cizek v. Davis:

       Historically, the federal quo warranto action has been available only in
       connection with proceedings over an individual’s right to hold an office
       or position. See, e.g., Johnson v. Manhattan Ry. Co., 289 U.S. 479, 502
       (1933); Newman v. Frizell, 238 U.S. 537 (1915); Barany v. Buller, 670
       F.2d 726, 735 (7th Cir. 1982). Moreover, “[i]t appears from case law
       that in federal court, the writ may be sought only by the United States,
       and not by private individuals.” Allah v. Robinson, 2007 WL 2220258,
       at *2 (W.D. Wash. July 31, 2007) (citing Johnson v. Manhattan Ry.
       Co., 289 U.S. at 502 (1933)); see also Bhambra v. County of Nev., 2010
       WL 3258836 (E.D. Cal. 2010); United States v. Machado, 306 F.Supp.
       995, 1000 (N.D. Cal. 1969).

Cizek v. Davis, No. 4:10-0185, 2010 WL 5437286, at *3 (M.D. Pa. Nov. 29,

2010), report and recommendation adopted by 2010 WL 5441969 (M.D. Pa. Dec.

28, 2010); Wilkes v. North Carolina, No. 1:19-CV-699, 2019 WL 7039631 at *4

(M.D.N.C. Nov. 19, 2019) (“quo warranto is the prerogative writ by which the

Government can call upon any person to show by what warrant he holds public office

or exercises a public franchise and, as such, a private individual has no standing to

institute   such   proceeding.”    (internal   quotations   omitted))      report   and

recommendation adopted by 2019 WL 7037401 (M.D.N.C. Dec. 20, 2019), affirmed



                                       Page 16 of 24
       Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 17 of 24




by 821 F. App’x 256 (4th Cir. 2020); Wright v. Magill, No. 18-1815, 2019 WL

440554 at *1 (D. Minn. Feb. 4, 2019) (“Quo warranto is an extraordinary proceeding

that is only authorized to be brought by the United States.”).

      Accordingly, I find that Plaintiff’s federal quo warranto claim should be

dismissed because, as a private citizen, he does not have standing to initiate a federal

writ quo warranto claim.

             2.     Plaintiff’s Claim for Mandamus Relief Should be Dismissed

      Pursuant to 28 U.S.C. § 1361, “[t]he district courts shall have original

jurisdiction of any action in the nature of mandamus to compel an officer or

employee of the United States or any agency thereof to perform a duty owed to the

plaintiff.” Although this statute gives the district court jurisdiction over an action in

the nature of mandamus, it can only compel “an officer or employee of the United

States.” In re Wolenski, 324 F.2d 309 (3d Cir. 1963) (citing 28 U.S.C. § 1361). It

does not provide a remedy against state actors or agencies. See e.g., In re Wolenski,

324 F.2d 309 (finding that the district court was without power to compel the

Orphans’ Court to act); Elansari v. Federal Bureau of Investigation, No. 20-CV-

3593, 2020 WL 4365604 at *1 (E.D. Pa. July 30, 2020) (finding that the district court

was without power to compel a local police department to act).

      Defendant is a state senator and is running for state office. Plaintiff has alleged

no facts that suggest Defendant is an officer or employee of the United States or any



                                        Page 17 of 24
       Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 18 of 24




agency thereof. This Court lacks the authority to compel Defendant to withdraw his

nomination petition. Mandamus relief under 28 U.S.C. § 1361 is only proper against

federal officials.

              3.     In the Absence of Any Federal Claim The Court Should Decline
                     to Exercise Supplemental Jurisdiction Over Plaintiff’s State Law
                     Claim

       Plaintiff includes the phrase, “Petition for Disqualification” in the heading of

his pleading. I construe this language as an attempt to file an objection to

Defendant’s nomination petition under state law.

       Pennsylvania regulates the time, place, and manner of its elections through

the Pennsylvania Election Code. 25 P.S. §§ 2601 et seq. Under the Pennsylvania

Election Code, each candidate must submit a nomination petition to the state board

of elections, which includes an affidavit in which the candidate must certify that he

or she is eligible for office. 25 P.S. § 2870. The Pennsylvania Election Code also

provides a process for an individual voter, like Plaintiff, to object to nomination

petition. 25 P.S. § 2397.

       The relevant state statute addressing objections to a nomination petition

provides that:

       All nomination petitions and papers received and filed within the
       periods limited by this act shall be deemed valid, unless, within seven
       days after the last day for filing said nomination petition or paper, a
       petition is presented to the court specifically setting forth objections
       thereto, and praying that the said petition or paper be set aside . . . .
       Upon the presentation of the such a petition, the court shall make an


                                       Page 18 of 24
       Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 19 of 24




      order fixing a time for hearing which shall not be later than ten days
      after the last day for filing said nomination petition or paper, and
      specifying the time and matter of notice that shall be given to the
      candidate or candidates named in the nomination petition or paper
      sought to the best aside. On the day fixed for said hearing, the court
      shall proceed without delay to hear said objections, and shall give such
      hearing precedence over other business before it, and shall finally
      determine said matter not later than fifteen (15) days after the last day
      for filing said nomination paper.

25 P.S. § 2937. 2

      Where a district court has dismissed all claims over which it had original

jurisdiction, the Court may decline to exercise supplemental jurisdiction over state

law claims. 28 U.S.C. § 1367(c)(3). Whether the Court will exercise supplemental

jurisdiction is within its discretion. Kach v. Hose, 589 F.3d 626, 650 (3d Cir. 2009).

That decision should be based on “the values of judicial economy, convenience,

fairness, and comity.” Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 (1988).

      Ordinarily, when all federal law claims have been dismissed and only state

law claims remain, the balance of these factors indicates that any remaining claims

properly belong in state court. Id. at 350. This case is no exception. In the absence




2
 The deadline for filing nomination petitions for congress and statewide offices (i.e.,
governor) in Pennsylvania was March 15, 2022. See Pennsylvania Department of
State,    Important     Dates      for      the    2022      Pennsylvania      Elections,
https://www.vote.pa.gov/About-Elections/Pages/Election-Calendar.aspx                 (last
visited Apr. 25, 2022). Pursuant to 25 P.S. § 2937, Plaintiff had seven days to object
to the nomination petition. Plaintiff filed his pleading in this Court on April 15, 2022.

                                         Page 19 of 24
       Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 20 of 24




of any plausible federal claim, the Court should decline to exercise jurisdiction over

Plaintiff’s objection to Defendant’s nomination petition.

             4.     Effect of Injunctive Sanctions

      As noted in Section II(A) of this Report, Plaintiff is subject to two injunctive

sanctions in this district. I note that Plaintiff’s current lawsuit does not contain the

objectional language that, in part, prompted Judge McClure to issue sanctions

thirteen years ago. To the extent that the 2011 sanction requiring Plaintiff to obtain

certification from a United States Magistrate Judge before filing any future civil

action within the Middle District of Pennsylvania is still enforceable, I decline to

certify Plaintiff’s pleading in this case because Plaintiff lacks standing to bring a

federal quo warranto claim, and because the Court lacks the authority to grant the

mandamus relief he requests.

      The sanction prohibiting Plaintiff from filing any civil action in this Court that

includes a claim about his 2004 tax assessment is not applicable to the claims raised

in this pleading.

             5.     Leave to Amend Should be Denied

      If a complaint is subject to dismissal for failure to state a claim, “a district

court must permit a curative amendment unless such an amendment would be

inequitable or futile.” Phillips v. County of Allegheny, 515 F.3d 224, 245 (3d Cir.




                                        Page 20 of 24
       Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 21 of 24




2008). If the 2011 sanction is no longer enforceable, Plaintiff’s pleading should

nonetheless be dismissed without leave to amend because amendment is futile.

      As explained in this Report, only the United States can bring a federal quo

warranto claim. Thus, amendment cannot cure the defects in Plaintiff’s quo warranto

claim. Similarly, pursuant to 28 U.S.C. § 1361, this Court does not have the authority

to grant mandamus relief against Defendant because he is not a federal official.

Amendment cannot cure this defect.

      B.     THE PENDING MOTION FOR PERMISSIVE INTERVENTION SHOULD                  BE
             DENIED

      Under Rule 24(b), “ [o]n timely motion, the court may permit anyone to

intervene who . . . has a claim or defense that shares with the main action a common

question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B) (emphasis added). To

permissively intervene, a proposed intervenor must: (1) establish that the motion is

timely, and (2) allege at least one common question of law or fact. Id. If the proposed

intervenor establishes these elements, the district court “must consider whether the

intervention will unduly delay or prejudice the adjudication of the original parties’

rights.” Fed. R. Civ. P. 24(c).

      Assuming that Proposed Intervenor has met the first two elements of Fed. R.

Civ. P. 24(b), granting intervention in this case will delay the adjudication of

Plaintiff’s claims in this case.

      Proposed Intervenor argues:


                                       Page 21 of 24
       Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 22 of 24




      No party is prejudiced by this intervention. Filing deadlines for the
      election     were     only    closed    on    March      15,     2022.
      https://www.vote.pa.gov/about-elections/pages/election-calendar.aspx
      Objections to petitions were only due March 22, 2022. Id. Defendant
      would likely be prejudiced if the intervention is not granted in that
      Defendant would face a separate action, possibly before a different
      judge in a different courthouse unless the Court consolidated cases.
      Consolidation would require additional burden on the part of the Court
      and all parties which can be avoided by permissive intervention.

(Doc. 6-1, pp. 4-5). In another section of the same brief, Proposed Intervenor argues:

      Were the court to deny permissive intervention, Clements would likely
      file a separate action in the Middle District, which may likely be
      assigned to a judge in the Harrisburg Division, given that Clements
      resides in Lebanon County. Courts should consider judicial economy
      when deciding to permit or deny permissive intervention. Brody By and
      Through Sugzdinis v. Spang, 957 F.2d 1108, 1123 (3d Cir. 1992); citing
      Society Hill Civic Ass’n v. Harris, 632 F.2d 1045, 1051 (3d Cir. 1980).
      The Third Circuit has noted that it prefers intervention to collateral
      attacks. Commw. v. President U.S., 888 F.3d 52, 59 (3d Cir. 2018);
      quoting Kleisser v. U.S. Forest Service, 157 F.3d 964, 970 (internal
      citations omitted).

      Here, rather than litigating the same issues in different courtrooms with
      different judges, or, in the alternative, taking the time to consolidate
      cases once filed, the court would streamline consideration of Mr.
      Mastriano’s eligibility for further elective office by allowing proposed
      intervention.

(Doc. 6-1, p. 8).

      As explained in this Report, the Court recommends denying certification of

Plaintiff’s pleading, and recommends in the alternative that Plaintiff’s pleading be

dismissed without leave to amend pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii) because

Plaintiff lacks standing to assert a federal quo warranto claim, and seeks mandamus



                                       Page 22 of 24
            Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 23 of 24




     relief that this Court lacks the authority to grant. Proposed Intervenor in this case

     appears to assert a new legal claim under 42 U.S.C. § 1983 in his proposed

     complaint. Given the procedural posture of the original pleading, and the Court’s

     recommendation that the original pleading be dismissed, consolidation would not

     streamline the adjudication of Plaintiff’s claims. Adding a new legal claim to this

     lawsuit would unduly delay the resolution of Plaintiff’s claims. Accordingly,

     Proposed Intervenor’s motion to intervene should be denied.

V.         RECOMMENDATION

           To the extent that the 2011 sanction is still enforceable, I DECLINE to certify

     this action for filing because Plaintiff lacks standing to bring a federal quo warranto

     claim, and because Plaintiff cannot obtain the mandamus relief he requests from this

     Court. In the alternative, it is RECOMMENDED that:

           (1)    Plaintiff’s IFP motion (Doc. 2) be granted and this case be dismissed
                  without leave to amend pursuant to 28 U.S.C. 1915(e)(2)(B)(ii) (failure
                  to state a claim on which relief may be granted).

           (2)    Proposed Intervenor’s Motion to Intervene (Doc. 6) be DENIED.

           (3)    The Clerk of Court be DIRECTED to close this case.



     Date: April 26, 2022                          BY THE COURT

                                                   s/William I. Arbuckle
                                                   William I. Arbuckle
                                                   U.S. Magistrate Judge



                                            Page 23 of 24
       Case 4:22-cv-00556-MWB Document 7 Filed 04/26/22 Page 24 of 24




                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

JEFFREY D. HILL,                           )     CIVIL ACTION NO. 4:22-CV-556
               Plaintiff                   )
                                           )     (BRANN, C.J.)
       v.                                  )
                                           )     (ARBUCKLE, M.J.)
DOUG MASTRIANO,                            )
            Defendant                      )
                         NOTICE OF LOCAL RULE 72.3

      NOTICE IS HEREBY GIVEN that any party may obtain a review of the
Report and Recommendation pursuant to Local Rule 72.3, which provides:
   Any party may object to a magistrate judge’s proposed findings,
   recommendations or report addressing a motion or matter described in 28
   U.S.C. § 636 (b)(1)(B) or making a recommendation for the disposition of a
   prisoner case or a habeas corpus petition within fourteen (14) days after being
   served with a copy thereof. Such party shall file with the clerk of court, and
   serve on the magistrate judge and all parties, written objections which shall
   specifically identify the portions of the proposed findings, recommendations
   or report to which objection is made and the basis for such objections. The
   briefing requirements set forth in Local Rule 72.2 shall apply. A judge shall
   make a de novo determination of those portions of the report or specified
   proposed findings or recommendations to which objection is made and may
   accept, reject, or modify, in whole or in part, the findings or recommendations
   made by the magistrate judge. The judge, however, need conduct a new
   hearing only in his or her discretion or where required by law, and may
   consider the record developed before the magistrate judge, making his or her
   own determination on the basis of that record. The judge may also receive
   further evidence, recall witnesses, or recommit the matter to the magistrate
   judge with instructions.

Date: April 26, 2022                           BY THE COURT

                                               s/William I. Arbuckle
                                               William I. Arbuckle
                                               U.S. Magistrate Judge


                                      Page 24 of 24
